     Case 8:12-cv-00831-JVS-MLG     Document 51-1   Filed 11/19/13   Page 1 of 2 Page ID
                                          #:273


 1 Derek A. Newman, State Bar No. 190467
   derek@newmanlaw.com
 2 NEWMAN DU WORS LLP
 3 100 Wilshire Boulevard, Suite 940
   Santa Monica, CA 90401
 4 Telephone: (310) 359-8200
   Facsimile: (310) 359-8190
 5
   John Du Wors, State Bar No. 233913
 6 john@newmanlaw.com
 7 Derek Linke (pro hac vice)
   linke@newmanlaw.com
 8 NEWMAN DU WORS LLP
   1201 Third Avenue, Suite 1600
 9 Seattle, WA 98101
10 Telephone: (206) 274-2800
   Facsimile: (206) 274-2801
11
   Attorneys for Plaintiff
12 ESSOCIATE, INC.
13
                         UNITED STATES DISTRICT COURT
14                      CENTRAL DISTRICT OF CALIFORNIA
15                            SOUTHERN DIVISION
16     ESSOCIATE, INC., a Delaware              Case No. SACV12-00831 JVS (MLGx)
17     corporation,
                                                DECLARATION OF KEITH
18                 Plaintiff,                   SCULLY IN SUPPORT OF
19                                              REQUEST TO ENTER DEFAULT
             v.                                 AGAINST EAGLE WEB ASSETS,
20
                                                INC. AND EWA NETWORK, INC.
21     EAGLE WEB ASSETS, INC., an
       Illinois corporation; and EWA
22
       NETWORK, INC., an Illinois
23     corporation,
24
               Defendants.
25     LINKTRUST SYSTEMS, INC.
26
       Intervenor and Counterclaim Plaintiff.
27
28
                                              1
                                     SCULLY DECLARATION
     Case 8:12-cv-00831-JVS-MLG     Document 51-1      Filed 11/19/13   Page 2 of 2 Page ID
                                          #:274


 1 I, Keith Scully, hereby declare:
 2          1.    I am counsel for Plaintiff Essociate, Inc. (“Plaintiff”), over the age of
 3 18, and competent to testify in this action.
 4          2.    A proof of service is on file with the Court .That document
 5 demonstrates that Essociate served Defendant Eagle Web Assets, Inc. by serving
 6 Paul Plotnick, attorney at law, personally with the summons and complaint and
 7 other papers on May 29, 2012.
 8          3.    Defendants are currently unrepresented by counsel, and have not filed
 9 an answer or other responsive pleading since their previous answer was stricken.
10          I certify and declare under the penalty of perjury of the laws of the United
11 States that the foregoing is true and correct.
12
13          Signed this 19th day of November, 2013.
14
15
                                             Keith Scully
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               2
                                      SCULLY DECLARATION
